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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20129

 SCOTT WILLIAM SUTHERLAND et al.

               Defendants.
                                                  /

 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 11-20066


 JEFF GARVIN SMITH et al.,

               Defendants.
                                                  /

  ORDER RESERVING DECISION ON MOTIONS FOR JUDGMENT OF ACQUITTAL

        Subsequent to the close of all the evidence, Defendants Patrick Michael

 McKeoun, Scott William Sutherland, David Randy Drozdowski, Jeff Garvin Smith, Paul

 Anthony Darrah, and Vincent John Witort filed motions for judgment of acquittal

 pursuant to Federal Rules of Criminal Procedure Rule 29(a). (Dkt. ## 1160, 1163,

 1165, 1182, 1188, 1204, 1206.) Rule 29(b) grants courts the authority to reserve

 decision on motions for a judgment of acquittal until either “before the jury returns a
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 verdict or after it returns a verdict of guilt or is discharged without having returned a

 verdict.” Fed. R. Crim. P. 29(b).1 Pursuant to Rule 29(b),

            IT IS ORDERED that the court reserves decision on the motions for judgment of

 acquittal (Dkt. ## 1160, 1163, 1165, 1182, 1188, 1204, 1206).


                                                                     s/Robert H. Cleland
                                                                     ROBERT H. CLELAND
                                                                     UNITED STATES DISTRICT JUDGE

 Dated: January 18, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, January 18, 2015, by electronic and/or ordinary mail.

                                                                     s/Lisa Wagner
                                                                     Case Manager and Deputy Clerk
                                                                     (313) 234-5522




            1
                Rule 29(b) provides in full:

            The court may reserve decision on the motion, proceed with the trial (where
            the motion is made before the close of all the evidence), submit the case to
            the jury, and decide the motion either before the jury returns a verdict or after
            it returns a verdict of guilty or is discharged without having returned a verdict.
            If the court reserves decision, it must decide the motion on the basis of the
            evidence at the time the ruling was reserved.

 Fed. R. Crim. P. 29(b).
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